Case 0:24-cv-60635-DSL Document 20 Entered on FLSD Docket 07/15/2024 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:24-cv-60635-DSL/PAB

  MIKYLA ARMSTRONG,

                  Plaintiff,
  vs.

  FLORIDA MEMORIAL UNIVERSITY, INC.,

              Defendant.
  ______________________________________/

        PLAINTIFF’S SECOND AMENDED CERTIFICATE OF INTERESTED PARTIES
                     AND CORPORATE DISCLOSURE STATEMENT

        Plaintiff, MIKYLA ARMSTRONG, by and through her undersigned counsel and pursuant to

  this Court’s Order [DE 12] directing Interested Parties and Corporate Disclosures, the Clerk’s

  Notice to Filer [DE 13], conferral with a Clerk’s Office representative, and subsequent conferral

  with Defendant’s counsel on July 11, 2024, regarding appropriate affiliates, hereby amends her

  prior disclosure:

        1) the name of each person, attorney, association of persons, firm, law firm, partnership, and
  corporation that has or may have an interest in the outcome of this action — including subsidiaries,
  conglomerates, affiliates, parent corporations, publicly-traded companies that own 10% or more
  of a party’s stock, and all other identifiable legal entities related to any party in the case:
  Persons:                                                Entities:
  Marcy I. LaHart, Esq., Plaintiff’s counsel              Marcy I. LaHart, PA, Plaintiff’s counsel
  Denese Venza, Esq., Plaintiffs’ counsel                 Venza Law, PLLC, Plaintiff’s counsel
  Jennifer V. Ruiz, Esq., Defendant’s counsel             Cole, Scott, Kissane, PA, Defendant’s counsel
  Natalia Morales, Esq., Defendant’s counsel              Florida Memorial University, Inc., Defendant
  Mikyla Armstrong, Plaintiff
  Kyranecia “Kyra” Armstrong, Plaintiff’s mother

  Other Affiliates:
  None.

           2)   the name of every other entity whose publicly-traded stock, equity, or debt may be
Case 0:24-cv-60635-DSL Document 20 Entered on FLSD Docket 07/15/2024 Page 2 of 2




  substantially affected by the outcome of the proceedings:
         None known.


         3)    the name of every other entity which is likely to be an active participant in the
  proceedings, including the debtor and members of the creditors’ committee (or twenty largest
  unsecured creditors) in bankruptcy cases:
         None known.


         4) the name of each victim (individual or corporate) of civil and criminal conduct alleged
  to be wrongful, including every person who may be entitled to restitution:
         Mikyla Armstrong.


                         CERTIFICATE OF NO KNOWN CONFLICTS
         We hereby certify that, except as disclosed above, we are unaware of any actual or potential
  conflict of interest involving the District Judge or Magistrate Judge assigned to this case and will
  immediately notify the Court in writing on learning of any such conflict.


         VENZA LAW, PLLC                               MARCY I. LAHART, P.A.
         West Villages at Wellen Park                  249 SE Tuscawilla Road
         12161 Mercado Drive, #227                     Micanopy, FL 32667
         Venice Beach, FL 34293-1147                   Office: (352) 224-5699
         Office: (561) 596-6329                        Facsimile: (888) 400-1464
         Email: dvenza@venzalawpllc.com                Email: marcy@floridaanimallawyer.com

         BY: s/ Denese Venza                           BY: s/ Marcy I. LaHart
         Denese Venza, Esq.                            Marcy I. LaHart, Esq.
         Florida Bar No. 599220                        Florida Bar No. 0967009
         Counsel for Plaintiff                         Counsel for Plaintiff

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on 15th day of July 2024, a true and correct copy of the
  foregoing has been furnished via CM/ECF electronic mail service to the Clerk of the Court.
                                                BY: s/Denese Venza
                                                Fla. Bar No. 599220


                                                   2
